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                       IN THE UNITED STATED DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

ROTHSCHILD BROADCAST                §
DISTRIBUTION SYSTEMS, LLC           §
                                    §
      Plaintiff,                    §                Case No: 2:16-cv-00403-RWS
                                    §
vs.                                 §
                                    §
RHAPSODY INTERNATIONAL, INC.        §
                                    §
      Defendants.                   §
____________________________________§


                     ORDER OF DISMISSAL WITHOUT PREJUDICE

       On this day, the Court considered Plaintiff Rothschild Broadcast Distribution Systems,

LLC’s motion to dismiss without prejudice, in the lawsuit between Plaintiff Rothschild Broadcast
    .
Distribution Systems, LLC (“RBDS”) and Defendant Rhapsody International, Inc.            Having

considered the Motion and the pleadings in this case, the Court is of the opinion that the Motion

should be, and is hereby GRANTED.

       Therefore, IT IS ORDERED that all claims asserted by RBDS against Rhapsody

International, Inc. are hereby DISMISSED WITHOUT PREJUDICE, with each party to bear its

own costs, attorneys’ fees and other litigation expenses.

SO ORDERED

        SIGNED this 22nd day of June, 2016.



                                                            ____________________________________
                                                            ROBERT W. SCHROEDER III
                                                            UNITED STATES DISTRICT JUDGE
